                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                   No. 5:24-CR-68-D-RN


 UNITED STATES OF AMERICA,                        )
                                                  )
                v.                                )                      ORDER
                                                  )
 PARKER ALLEN GIBSON,                             )
                                                  )
                Defendant.                        )

       Pursuant to Rule 5(f)(1) of the Federal Rules of Criminal Procedure, the court hereby

confirms that in this case the government is subject to the disclosure obligation of the prosecution

recognized in Brady v. Maryland, 373 U.S. 83 (1963) and its progeny. Brady provides that “the

suppression by the prosecution of evidence favorable to an accused upon request violates due

process where the evidence is material either to guilt or to punishment, irrespective of the good

faith or bad faith of the prosecution.” Id. at 87. Failure by the government to comply in this case

with its disclosure obligation under Brady and its progeny, in violation of this order or otherwise,

can result in exclusion of evidence, an adverse jury instruction, dismissal of charges, reversal of a

conviction, vacation of a sentence, and imposition of sanctions against the individuals responsible

for the violation, among other consequences.

       SO ORDERED, this 13th day of March, 2024.



                                               _________________________
                                               James E. Gates
                                               United States Magistrate Judge




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